

People v McKenzie (2022 NY Slip Op 05813)





People v McKenzie


2022 NY Slip Op 05813


Decided on October 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 18, 2022

Before: Manzanet-Daniels, J.P., Mazzarelli, Oing, Kennedy, Mendez, JJ. 


Ind. No. 3957/16 Appeal No. 16457 Case No. 2019-4415 

[*1]The People of the State of New York, Respondent, 
vMichael McKenzie, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Angie Louie of counsel), and Stroock, Stroock &amp; Lavan, New York (Daniel H. Lewkowicz of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Faith DiTrolio of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Curtis J. Farber, J.), rendered March 15, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 18, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








